          Case 1:21-mj-00444-ZMF Document 9 Filed 06/24/21 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                                        FOR THE
                                 DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Vs.                                          CASE NO.: 21-MJ-00444

NICHOLAS BROCKHOFF,
            Defendant.
_____________________________________/

      AFFIDAVIT IN REAGRDS TO PRIOR APPEARANCES OF ALEX R. STAVROU,
        ESQUIRE, IN THE UNITED STATES DISTRICT COURT – DISTRICT OF
       COLUMBIA, IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

        ON THIS DAY personally appeared before me, the undersigned authority, ALEX R.

STAVROU, ESQUIRE, and who being duly sworn, and under Oath, states:

           a. I am a practicing attorney in the state of Florida. My information is as follows:

           Mailing address: 13046 Racetrack Road, #333, Tampa, Florida 33626

           Physical address: Alex R. Stavrou, P.A.

                              4809 East Busch Boulevard, #204
                              Tampa, Florida 33617
                              Phone: 813-251-1289x1
                              Fax: 813-489-2528
                              Email: Alex@alexstavrou.com

           b. I have been a member in good standing of the Florida Bar Association since my

           admission in 1997. My Florida Bar is 0108390. I am also admitted to practice

           in the Middle District for the Southern and Middle Districts of Florida; and the 11th

           Circuit Court Appeals.




                                                1
  Case 1:21-mj-00444-ZMF Document 9 Filed 06/24/21 Page 2 of 2




   c. The undersigned has never previously been admitted into the United States District

   Court – District of Columbia.

   d.   This affidavit is being filed in support of DOC 7, motion for admission Pro Hac

   Vice, pursuant to Rule 83.2(d) of the Local Rules to the District of Columbia, and

   pursuant to this Court’s minute order instruction requesting clarification as to whether

   counsel has previously been admitted Pro Hac Vice. My application for full admission

   to the United States District Court for the District of Columbia is pending approval in

   the coming week.

FURTHER AFFIANT SAYETH NOT.

Date: June 24, 2021                          /S/ ALEX R. STAVROU, ESQ.
                                             ______________________________________
                                             Signature of Affiant
                                             ALEX R. STAVROU, ESQUIRE
                                             Alex R. Stavrou, P.A.
                                             4908 Busch Blvd, Suite 204
                                             Tampa, Florida 33617
                                             Phone: 813-251-1289x1
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